Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 1 of 37 PageID# 21154




                            Exhibit A
Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 2 of 37 PageID# 21155


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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA




    UNITED STATES OF AMERICA, ET AL.,
                  Plaintiffs,

          v.                                         Civil Action No.: 1:23-cv-00108 (LMB/JFA)

    GOOGLE LLC,
                  Defendant.




                                Expert Report of Anthony J. Ferrante
                                          January 23, 2024




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 3 of 37 PageID# 21156


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   Introduction
      1. I, Anthony J. Ferrante, am a Senior Managing Director and Global Head of Cybersecurity at FTI
         Consulting, Inc. (“FTI”). I have been retained by counsel (“Counsel”) for Google LLC .

      2. In this report, I opine on certain issues based on cybersecurity, privacy and security relating to
         digital advertising.

      3. Except as otherwise noted, I have personal knowledge as to all the information set forth in this
         report. All facts and opinions included in this report are based upon my personal experiences
         and knowledge relating to cybersecurity, information supplied to me by Counsel, and my review
         of other relevant information related to the Plaintiffs’ claims.




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 4 of 37 PageID# 21157


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   Summary of Opinions
       8. With the explosion of digital advertising and online activity, the threat of malicious cyber activity
          has only exponentially followed. From my law enforcement, national security, and industry
          experience, as well as my review of documents produced in connection with this case, and
          supplemental open source materials set forth in Appendix B: Materials Relied On, it is my
          opinion that:

               ●    Malvertising and digital advertising fraud are now a persistent and pernicious form of
                    organized crime, presenting a substantial threat to global Internet users and all
                    participants in the digital advertising ecosystem and costing participants in the
                    ecosystem billions of dollars every year. The global costs related to digital advertising
                    fraud as a whole have grown exponentially over the past five years (2018-2023), from
                    approximately $35 billion to $100 billion USD;1

               ●    Google stood out as an early industry leader in the face of this rising threat. Google
                    developed and collaborated with partners to set and invest in standards and protocols
                    for industry-wide use to improve the entire advertisement ecosystem and make it safer
                    for all participants, including through its role in developing ads.txt and collaborating with
                    industry working groups such as the Interactive Advertising Bureau Technology Lab and
                    Trustworthy Accountability Group;

               ●    The open environment that the header bidding auction method provides, and its lack of
                    integration between exchanges and its participants, creates opportunities for malicious
                    actors to take advantage of Internet users and advertisers; and

               ●    Google’s development of the Open Bidding methodology and its integrated environment
                    enabled Google to bolster security through the application of its tools and standards at
                    all ends of the process.

   I have not evaluated other aspects of this case, nor have I been asked to opine on the case in a wider
   scope.




   1
    Estimated cost of digital advertising fraud worldwide in 2018 and 2023, Statista Research Department (Jan. 10,
   2023),
   https://web.archive.org/web/20230911041343/https://www.statista.com/statistics/677466/digital-ad-fraud-cost/.



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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 5 of 37 PageID# 21158


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   Introduction: Advertising Fraud and Malvertising
       9. Advertising (ad) fraud and malvertising are monumental threats facing digital advertisers and
          businesses. Ad fraud targets ad traffic while malvertising targets ad quality. Ad fraud aims to
          steal ad revenue from publishers via invalid traffic, whereas malvertising is an attempt to steal ad
          revenue, publisher data, and user data.2

       10. Ad fraud is an attempt to deceive advertising platforms into thinking that fake activity on the
           network is real user behavior for the purpose of financial gain. Ad fraud occurs when
           non-humans, or invalid traffic (“IVT”) such as click bots,3 interact with ads so that the publisher
           makes money at the expense of the advertiser, since the ads are not seen, or clicked on, by a real
           user. Ad fraud significantly impacts advertisers as it diminishes their Return on Ad Spend
           (“ROAS”).

       11. Malicious advertising, or “malvertising,” describes nefarious content in an advertisement itself.
           Malicious ads target users, their data, or their device with fraudulent content designed to trick
           ad viewers into interacting with the malicious ad as if it were legitimate. Once clicked, the
           malicious advertisement may install malware on the user’s device or redirect the user to a
           malicious website that solicits sensitive information. This is referred to as a “malvertising attack.”

       12. Once malware4 is delivered and installed through a malvertising attack, it can damage files,
           redirect Internet traffic, monitor the user’s activity, steal data, or set up backdoor access points
           to the user’s device. Malware may also delete, block, modify, leak or copy data, which can then
           be sold on the dark web, sold back to the user for ransom, or otherwise used in furtherance of a
           malicious actor’s unlawful purposes.5

       13. Malicious ads are difficult to identify due to their various forms (outlined below) and ability to be
           placed through ad servers on legitimate, reputable, and trustworthy websites. As a result,
           billions of website users are at daily risk of falling victim to a malicious ad and remain largely
           unaware of the threat lurking on even the most popular and trusted websites and platforms.
           And despite improvements in the digital ad landscape, the Trustworthy Accountability Group
           (“TAG”) estimates that today nearly 1 in every 100 ad impressions and more than 20% of user
           sessions could be impacted by malvertising.6




   2
     Neeraja Shanker, Advertising fraud, malvertising, and its impact on publishers, Blockthrough (Sept. 1, 2022),
   https://blockthrough.com/blog/advertising-fraud-and-malvertising/.
   3
     Bot, short for robot, is a software program or script that performs automated, repetitive, predefined tasks that
   aim to imitate or replace human activity.
   4
     Malware is most often defined as a malicious program or code that is harmful to systems.
   5
     Bart Lenaerts-Bergmans, What is Malvertising, CrowdStrike (Oct. 17, 2022),
   https://www.crowdstrike.com/cybersecurity-101/malware/malvertising/.
   6
     Share Threat Intelligence, The Trustworthy Accountability Group (last accessed Jan. 19, 2024),
   https://www.tagtoday.net/threat-sharing.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 6 of 37 PageID# 21159


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

   The Threat Actors
       14. Threat actors are malicious groups or individuals who intentionally exploit weaknesses in an
           information system, or gain unauthorized access to or otherwise affect victims’ data, devices,
           systems, and networks. They take advantage of technical vulnerabilities, use social engineering
           against online users,7 and promote false or misleading content online to influence individuals’
           behavior and beliefs.8

       15. The threat actors engaging in ad fraud vary based on intentions, but are mainly cybercriminals,
           Blackhat marketers, and even ad networks themselves. Criminals most often commit ad fraud to
           generate revenue, but also to damage competitors’ reputations or deplete rivals’ advertising
           budgets.9 In either case, money is stolen from legitimate advertisers often to fuel international
           criminal enterprises.

       16. Organized crime members gravitate towards ad fraud because of the risk to reward ratio. It has
           the potential for a large payout with relatively low risk and effort. Ad fraud is expected to
           become the largest market for organized crime by 2025, and likely to exceed $50 billion globally,
           second only to the drugs trade as a source of income for organized crime.10 Malvertising is also
           rooted in organized crime and its ecosystem and is believed to be connected to the funding of
           organized crime rings, often in Eastern Europe, including the Russian Business Network. The
           self-proclaimed “King of Fraud” Aleksandr Zhukov, a Russian national, was sentenced to ten years
           in prison for the digital advertising fraud scheme known as “Methbot,” which took over $7
           million from U.S. advertisers, publishers, platforms, and others in the U.S. digital advertising
           industry between September 2014 and December 2016.11 Methbot was the largest and most
           profitable botnet operation until “3ve” (outlined in more detail below): Zhukov’s sophisticated
           bot army watched 300 million video ads per day on over 6,000 spoofed websites made to look
           like premium publisher websites.12

       17. During my time at the FBI, we saw maltervising as a vector that was being exploited in increasing
           volume. In one case I worked on in 2011, charges were brought against six Estonian nationals
           and one Russian national for engaging in a massive and sophisticated Internet fraud scheme that

   7
     Social engineering uses psychological manipulation to trick users into making security mistakes or giving away
   sensitive information.
   8
     Department of Health and Human Services Office of Information Security, Types of Cyber Threat Actors That
   Threaten Healthcare (Jun. 8, 2023),
   https://www.hhs.gov/sites/default/files/types-threat-actors-threaten-healthcare.pdf.
   9
     Who Is Behind Programmatic Advertising Fraud?, Anura (last visited Jan. 12, 2024),
   https://www.anura.io/fraud-tidbits/who-is-behind-programmatic-advertising-fraud.
   10
      WFA issues first advice for combatting ad fraud, World Federation of Advertisers (Jun. 6, 2016),
   https://wfanet.org/knowledge/item/2016/06/06/WFA-issues-first-advice-for-combatting-ad-fraud.
   11
      Press Release, Russian Cybercriminal Sentenced to 10 Years in Prison for Digital Advertising Fraud Scheme, United
   States Attorney’s Office for the Eastern District of New York (Nov. 10, 2021),
   https://www.justice.gov/usao-edny/pr/russian-cybercriminal-sentenced-10-years-prison-digital-advertising-fraud-s
   cheme.
   12
      Methbot: Then and Now, Human Blog (Jun. 1, 2021),
   https://www.humansecurity.com/learn/blog/methbot-then-and-now.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 7 of 37 PageID# 21160


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            infected over four million computers with malware in over 100 countries. Of the computers
            infected, at least 500,000 were in the United States, including computers belonging to U.S.
            government agencies, such as NASA; educational institutions; non-profit organizations;
            commercial businesses; and individuals. The malware altered the settings on infected computers
            enabling the threat actors to digitally hijack Internet searches and reroute computers to certain
            websites and advertisements, with the threat actors pocketing at least $14 million in fraudulent
            advertising fees.13

        18. That same year, the FBI’s Minneapolis office launched an investigation into an international
            criminal group using malvertising to spread its scareware product. Scareware is malicious
            software that poses as legitimate computer security software and claims to detect a variety of
            threats on the affected computer that do not actually exist. Users are informed they must
            purchase the scareware product, or anti-virus software, in order to repair their computer and are
            hit with aggressive and repetitive notifications until they supply their credit card number. Two
            individuals in Latvia were charged with creating a fake advertising agency and claiming to
            represent a hotel chain that wanted to purchase online advertising space on a Minneapolis
            newspaper’s website. After the ad was verified by the paper and posted, the threat actors
            changed the ad’s computer code so that visitors to the site became infected with a malicious
            software program that launched scareware on their computers. That scheme cost its victims
            about $2 million.14 The threat actors have only become more sophisticated over time and can
            carry out ad fraud and malvertising in multiple forms, outlined further below.


   The Impact of Ad Fraud and Malvertising on Advertisers, Publishers
   and Consumers
        19. Ad fraud and malvertising have a substantial and detrimental impact on all parties involved in
            the digital advertising ecosystem, including: website visitors, website hosts, the legitimate
            organizations advertising their products, as well as the advertisement publishers themselves.
            The prevalence of both ad fraud and malvertising is continuously increasing, and becoming more
            sophisticated as the digital landscape evolves.

        20. The most immediate harm malvertising causes is towards website users, resulting in sensitive
            information being compromised.



   13
      Press Release, Manhattan U.S. Attorney Charges Seven Individuals for Engineering Sophisticated Internet Fraud
   Scheme That Infected Million of Computers Worldwide and Manipulated Internet Advertising Business, The Federal
   Bureau of Investigation (Nov. 9, 2011),
   https://archives.fbi.gov/archives/newyork/press-releases/2011/manhattan-u.s.-attorney-charges-seven-individuals
   -for-engineering-sophisticated-internet-fraud-scheme-that-infected-millions-of-computers-worldwide-and-manipul
   ated-internet-advertising-business.
   14
      Press Release, Latvian Cybercriminal Extradited For “Scareware” Hacking Scheme That Caused Millions of Dollars
   in Loss, United States Department of Justice Office of Public Affairs (Jun. 12, 2017),
   https://www.justice.gov/opa/pr/latvian-cybercriminal-extradited-scareware-hacking-scheme-caused-millions-dolla
   rs-loss.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 8 of 37 PageID# 21161


                            HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

        21. Advertisers may also have their potential ad reach limited by malvertising, as it causes users to
            be more suspicious of digital ads going forward, especially if exposed to deceptive ads
            masquerading as a legitimate product or organization. Not only can malvertising have a negative
            impact on websites where users have personally experienced malvertising, it can lead to users
            installing advertisement-blocking tools.

        22. Advertisers are adversely impacted by ad fraud because digital ad fraud accounts for
            approximately $1 for every $3 spent on digital ads.15 The World Federation of Advertisers, which
            represents 100 of the world’s biggest brand owners and 60 national advertiser associations,
            estimated in 2016 that 10% to 30% of advertising is fraudulent and not seen by consumers.16
            Other analysts estimate that 8% of display advertising impressions are fraudulent and 14% of
            video ads are fraudulent.17 In 2022, ad fraud surpassed credit card fraud in terms of both money
            lost and as a percentage of the industry revenue.18

        23. Publishers make money by running ads, with digital publishers generating revenue by offering
            their readers as audiences for advertisers. If their website does not show the ads of the
            advertiser who paid for the ad inventory, then publishers lose anticipated revenue from running
            ads. For publishers, malvertising and ad fraud tactics also can cause significant damage to a site's
            brand reputation, as well as contribute to ad revenue and traffic loss. When an auto-redirect ad
            (seemingly legitimate ads that redirect a user to a malicious website and can garner sensitive
            user information) appears on a publisher’s website, that ad negatively affects the user’s trust
            and confidence in the publisher and they are less likely to revisit that site.

        24. The global costs related to digital advertising fraud as a whole have grown exponentially over the
            past five years (2018-2023), from $35 billion to $100 billion USD, as displayed in Figure A. In 2022
            alone, digital ad fraud costs worldwide were believed to reach $81 billion,19 and 22% of the total
            value of global spend of digital advertising in 2023 is expected to be lost to ad fraud.20 Juniper
            Research forecasts that the global potential advertising spend lost to fraud will rise to $172
            billion (23% of the total digital ad spend) by 2028, and 42% of the ad spend lost to ad fraud will
            be in North America.21



   15
      George Slefo, Report: For Every $3 Spent on Digital Ads, Fraud Takes $1, AdAge (Oct. 22, 2015),
   https://adage.com/article/digital/ad-fraud-eating-digital-advertising-revenue/301017.
   16
      Robert Cookson, Digital advertising: Brands versus bots, The Financial Times (Jul. 18, 2016),
   https://www.ft.com/content/fb66c818-49a4-11e6-b387-64ab0a67014c.
   17
      The Economic Cost of Bad Actors on the Internet at Page 12, University of Baltimore (2020),
    https://info.cheq.ai/hubfs/Research/Economic-Cost-BAD-ACTORS-ON-THE-Internet-Ad-Fraud-2020.pdf.
   18
      The Economic Cost of Bad Actors on the Internet at Page 5, University of Baltimore (2020),
    https://info.cheq.ai/hubfs/Research/Economic-Cost-BAD-ACTORS-ON-THE-Internet-Ad-Fraud-2020.pdf.
   19
      Estimated cost of digital advertising fraud worldwide in 2018 and 2023, Statista Research Department (Jan. 10,
   2023),
   https://web.archive.org/web/20230911041343/https://www.statista.com/statistics/677466/digital-ad-fraud-cost/.
   20
      Quantifying the Cost of Ad Fraud: 2023-2028 at Slide 2, Juniper Research (last accessed Jan. 12, 2024),
   https://fraudblocker.com/ad-fraud-data-facts?utm_campaign=pr.
   21
      Quantifying the Cost of Ad Fraud: 2023-2028 at Slide 2, Juniper Research (last accessed Jan. 12, 2024),
   https://fraudblocker.com/ad-fraud-data-facts?utm_campaign=pr.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 9 of 37 PageID# 21162


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               Figure A: Estimated cost of digital ad fraud worldwide from 2018-2023 in billions (Statista)22


   Forms of Advertising Fraud and Malvertising
        25. Malvertising and advertising fraud may prove difficult to detect and identify due to the various
            forms and tactics a threat actor may employ in an attempt to compromise an individual or
            business.

   Auto-Redirect Ads

        26. Auto-redirect ads are a form of ad fraud that will redirect a user to an ad’s landing page, even if
            the user did not interact with it. While they appear to be legitimate advertisements, they
            redirect a user to a website controlled by a threat actor. Auto-redirect ads are one of the most
            difficult forms of malvertising to detect and accounted for 48% of all malvertising in 2020.23 The
            malicious website may contain malware that is then downloaded to the user’s device, or could
            be used to spoof a legitimate product or solicitation in order to garner sensitive information
            from the user. For publishers, auto-redirect ads steal traffic from their website and revenue that

   22
      Estimated cost of digital advertising fraud worldwide in 2018 and 2023, Statista Research Department (Jan. 10,
   2023),
   https://web.archive.org/web/20230911041343/https://www.statista.com/statistics/677466/digital-ad-fraud-cost/.
   23
      How to Stop Forced Auto Redirect Advertising, GeoEdge (last accessed Jan. 12, 2024),
   https://www.geoedge.com/auto-redirects/.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 10 of 37 PageID# 21163


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             could have been earned from a legitimate ad.24 In order to combat auto-direct ads, a user may
             install an adblocker, which, in turn, affects the publisher’s earnings.

         27. Figure B below is a common example of an auto-redirect ad. A user opens a webpage and a
             pop-up appears with an opportunity to claim a prize. If the user clicks to claim the prize, or tries
             to close the pop-up, the user is redirected to another webpage that deploys malicious code.




                                             Figure B - Example of a redirect ad25

    Ad Injectors

         28. Ad Injectors are programs that take over a user’s browser session to insert new ads, or replace
             the existing ads, into the pages a user will visit while browsing the web.26 As seen in Figure C,
             none of the ads displayed on Amazon are organic to the page; the page is entirely infected with
             ad injectors. These injected advertisements can even show on sites that are supposed to be
             ad-free (e.g. Apple). In Figure C, the H&R Block ad on Apple is another example of an injected ad.
             These ads originate from an extension installed on the user’s browser that contains software
             that injects unwanted ads into a user’s browser. The software is then dispersed by a network of
             affiliates who are paid a commission when a user clicks on an injected ad. This creates security
             and data privacy concerns for the infected user, and lost revenue for advertisers who paid to
             display an ad that will be replaced by an injected ad.



    24
       How to Stop Forced Auto Redirect Advertising, GeoEdge (last accessed Jan. 12, 2024),
    https://www.geoedge.com/auto-redirects/.
    25
       Winston Hearn, Why ads keep redirecting you to scammy sites and what we’re doing about it, Vox Media (Jan. 22,
    2018),
    https://product.voxmedia.com/2018/1/22/16902862/why-ads-redirect-to-giftcards-and-what-were-doing-to-secur
    e-them.
    26
       Kurt Thomas et al., Ad Injection at Scale: Assessing Deceptive Advertisement Modifications at 2, IEEE Symposium
    on Security and Privacy (2015), https://storage.googleapis.com/pub-tools-public-publication-data/pdf/43346.pdf.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 11 of 37 PageID# 21164


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          29. Some of the biggest advertising giants and publishers in the world fall victim to injected ads and
              the primary actors behind injected ads go by the name “215 Apps” or “Engaging Apps.” These
              actors have built a network of browser extensions that give consumers the impression they will
              be able to have an added benefit, like downloading videos, but instead inject ads on those sites.




         Figure C: Sample of ad injection on different shopping properties. None of the ads displayed are organic to the
                                                             page.27

    Bots & Botnets

          30. A computer bot (short for “robot”) is a software application programmed to execute specific
              predefined and repetitive tasks or mimic human activity and behavior. Bots may be used in a
              harmless manner, such as an individual using a bot to automate or script a simple task. On the
              other hand, a botnet may be used to visit a website and maliciously interact with the
              advertisements on the webpage. As a publisher receives payment for every click generated by an
              advertisement on a website, a fraudulent actor may use a botnet to repeatedly “spam” click
              advertisements on their websites. The use of botnets can lead to false and skewed data due to
              impressions, page views, and clicks that are generated from bots but believed to be generated
              from legitimate Internet users. While they can carry out useful, often mundane, tasks at a faster
              speed than a human, they also come in the form of malware. Malicious bots can be used in the
              background, unknowingly to the user, to generate invalid traffic to websites or advertisements.

          31. Botnet (short for "robot network”) refers to an assembly of computers that malware has
              compromised, which are remotely controlled by an attacker, or a “bot herder.” Bot-herders have
              the ability to direct botnets - which can include millions of bots - to specific networks, systems,
              or websites. In ad fraud, the owner of the botnet can direct the bots to a website on which
              fraudulent ads have been placed by the fraudulent actor in order to generate fake revenue or
              launch massive, highly damaging denial-of-service (DDoS) attacks on targeted systems or
              networks.

    27
      Kurt Thomas et al., Ad Injection at Scale: Assessing Deceptive Advertisement Modifications at 2, IEEE Symposium
    on Security and Privacy (2015), https://storage.googleapis.com/pub-tools-public-publication-data/pdf/43346.pdf;
    Nate Anderson, How a banner ad for H&R Block appeared on apple.com—without Apple’s OK, ARS TEchnica (Apr. 7,
    2013), https://arstechnica.com/tech-policy/2013/04/how-a-banner-ad-for-hs-ok/.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 12 of 37 PageID# 21165


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                                         Figure D - Bot and human traffic online28

         32. According to a study by Imperva (Figure D), a cyber security software and services company,
             nearly half (47.4%) of the Internet traffic in 2022 consisted of bots, compared to 42.3% in 2021.29
             Of that automated traffic, 30.2% were bad (malicious) bots, a 2.5% increase from 27.7% in 2021.
             The percentage of human traffic continues its downward trend, from 57.7% in 2021 to 52.6% in
             2022.

    Drive-By Download Attack

         33. A drive-by download refers to the unintentional download of malicious code onto a computer or
             mobile device that exposes users to different types of cyber threats. In some instances, threat
             actors may utilize what is known as a drive-by download attack, a malvertising strategy where
             the threat actor, having obtained the trust of the advertisement exchange, is able to place a
             malicious advertisement containing an exploit kit within a legitimate website.30 An exploit kit is a
             piece of malware designed to automatically identify and exploit a wide array of vulnerabilities
             within a user’s hardware when the website is visited by a user. The exploit kit can be run through
             authorized or unauthorized execution.

         34. Authorized execution is any type of drive-by download that requires user input to execute,
             whether it be clicking a fake download link, a fake button prompt, or any similar façade.
             Unauthorized downloads have the same end goal as authorized downloads, but deliver their
             malware without user interaction. The malware is triggered by simply visiting the target website.
             These exploit kits can be more dangerous than targeted, software-specific exploits as they can
             be deployed to an extremely broad range of users. Once an exploit kit has been installed onto a
             user’s device and identifies exploitable vulnerabilities on the device, it can create a remote
    28
       2023 Bad Bot Report at Page 5, Imperva (last accessed Jan. 12, 2024),
    https://www.imperva.com/resources/reports/2023-Imperva-Bad-Bot-Report.pdf.
    29
       2023 Bad Bot Report at Page 5, Imperva (last accessed Jan. 12, 2024),
    https://www.imperva.com/resources/reports/2023-Imperva-Bad-Bot-Report.pdf.
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       TAG Malvertising Taxonomy at Page 10, The Trustworthy Accountability Group (Nov. 2022),
    https://2848641.fs1.hubspotusercontent-na1.net/hubfs/2848641/TAG%20Malvertising%20Taxonomy_Nov2022.pd
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    ssc=74746893.1.1705033167002&__hsfp=1135167407&hsCtaTracking=f8fc1c89-ae09-4055-bf13-7206459219b8%
    7C1651298a-55e8-4a3f-b504-171ac937ccf5.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 13 of 37 PageID# 21166


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             channel for the threat actor to install malware or perform a variety of actions. This exploit kit
             may ultimately allow for the threat actor to exfiltrate sensitive or financial information directly
             from the device, hold and encrypt the user’s information for a ransom, or utilize the system as
             part of a botnet. Regardless of the actions taken by the threat actor and exploit kit, users may
             often remain unknowing throughout the entire process until their information has been
             compromised.

    Domain Spoofing

         35. Domain spoofing is the practice of bad actors disguising themselves as premium publishers in
             the ad-buying process by closely impersonating the domain of a legitimate and reputable
             organization. The buyers believe that their ads are being delivered on trustworthy and premium
             sites (e.g. The New York Times), but in reality the ads are placed on an unknown site with
             lower-quality (or bot) traffic with advertising dollars going directly to bad actors. Users may
             believe they have reached the legitimate website they seek but end up on a fraudulent domain.
             In 2017, an investigation by The Financial Times showed that $1.3 million worth of fake “FT.com”
             ad space was being sold each month.31

    Cookie Stuffing

         36. A cookie is a small piece of text data that websites store on a user’s computer or device when
             they access a website. Cookie stuffing is a deceptive practice where a third-party drops multiple
             affiliate/tracking cookies into a user’s browser without their knowledge or consent. This
             technique allows the affiliates to claim commissions for sales or conversions they did not
             genuinely contribute to, essentially “stealing” the credit and commission from other legitimate
             affiliates or merchants. A prominent example is when eBay, in 2017, reported that they fell
             victim to a $35 million cookie stuffing scheme in which two marketers rigged eBay’s system to
             fraudulently credit them with sales they did not generate. The marketers accomplished this
             fraud by planting unknowing users with hundreds of thousands of cookies. The cookies signaled
             that the marketers should get a cut of every sale on eBay involving a user with one of these fake
             cookies, even though the cookies did nothing to promote eBay.32

    Pixel Stuffing

         37. Pixel stuffing occurs when an actor embeds a standard ad with a fraudulent pixel that is “stuffed”
             with multiple ads. These 1x1 pixels are so small that they are invisible to the naked eye. Users,




    31
       Jack Marshall, Financial Times Finds Counterfeit Ad Space Was Offered by at Least Six Companies, The Wall Street
    Journal (Oct. 9, 2017),
    https://www.wsj.com/articles/financial-times-finds-counterfeit-ad-space-was-offered-by-at-least-six-companies-15
    07563713.
    32
       Jim Edwards, Web Marketer Facing Prison Claims eBay Turned A Blind Eye To A $35 Million Alleged Fraud,
    Business Insider (Aug. 30, 2014),
    https://www.businessinsider.in/tech/web-marketer-facing-prison-claims-ebay-turned-a-blind-eye-to-a-35-million-al
    leged-fraud/articleshow/41232580.cms.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 14 of 37 PageID# 21167


                              HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             although unaware, are technically viewing multiple ads once the page loads and the actors
             therefore receive compensation for the fraudulent impressions from the stuffed ad.33

    Ad Stacking

         38. Ad stacking is a type of ad fraud in which multiple ads are placed or “stacked” on top of each
             other in a single ad placement. Although only the top ad is visible to the user, a single click or
             impression is registered for every ad in the stack, enabling the actor to bill multiple advertisers,
             and leading some advertisers to pay for fake clicks and/or impressions.




    33
      Digital Ad Fraud Handbook at Page 10, IAB Australia (last accessed Jan. 12, 2024),
    https://m.iabaustralia.com.au/asset/445:digital-ad-fraud-handbook.pdf.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 15 of 37 PageID# 21168


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

    Detailed Opinions
    Google’s Steps to Address Malvertising and Advertising Fraud in the
    Digital Advertising Ecosystem
         39. Malvertising first surfaced in 2007 and skyrocketed in 2014 with a 325% attack increase reported
             by security firm Cyphort.34 Advertising fraud similarly reached a concerning level in 2014 when
             36% of advertising traffic was generated by machines, causing advertisers to think they were
             paying for human views when they were not.35

         40. By design, ad fraud and malvertising are difficult for consumers, publishers and advertisers to
             detect and prevent. But Google has leveraged its technology, resources, and talent to
             successfully contain ad fraud and malvertising campaigns. In 2014, Google acquired Spider.io’s
             anti-fraud team led by the company’s founder and botnet-fighting specialist Douglas de Jager.36
             The Spider.io staff and Google’s team combined to dramatically speed up the fight against ad
             fraud. Google uses a combination of automated and manual reviews to analyze websites and
             advertisements for potential fraud and malware.37 Google’s ad teams constantly update filters
             that detect potentially malicious activity with intelligence from user-flagged ads, and will
             reverse-engineer fraud to pinpoint threat indicators. This process has allowed Google to build a
             significant repository of indicators and signals characteristic of threat actors. Google also uses
             automated “risk models” that scan ads to determine whether they are in violation of Google’s ad
             policies.38

         41. In recognition of their success, as measured by a third-party auditor, Google obtained the
             Trustworthy Accountability Group (“TAG”)39 Anti-Fraud Certification and Certificate against




    34
       Nicholas Maida, What is Malvertising?, Cybersecurity & Information Systems Information Analysis Center (Dec.
    17, 2018), https://csiac.org/articles/malvertising-explored/.
    35
       Advertising Fraud: How the Ad-Tech Industry is Tackling the Problem, MIT Technology Review Insights (Dec. 15,
    2014),
    https://www.technologyreview.com/2014/12/15/249612/advertising-fraud-how-the-ad-tech-industry-is-tackling-th
    e-problem/.
    36
       Darrell Etherington, Google Acquires Spider.io To Help Spot And Stop Online Ad Fraud, Tech Crunch (Feb. 21,
    2014), https://techcrunch.com/2014/02/21/google-acquires-spider-io-to-help-spot-and-stop-online-ad-fraud/.
    37
       How does Google prevent invalid activity?, Google Ads (last accessed Jan. 19, 2024),
    https://www.google.com/ads/adtrafficquality/how-we-prevent-it/.
    38
       Sridhar Ramaswamy, Making our ads better for everyone, Google Public Policy Blog (Mar. 14, 2012),
    https://publicpolicy.googleblog.com/2012/03/making-our-ads-better-for-everyone.html
    39
       Not to be confused with Google’s own Threat Analysis Group, which the company founded in 2010 to counter
    government-backed cyber attacks. Threat Analysis Group Official Blog, Google (last accessed Jan. 12, 2024,
    https://blog.google/threat-analysis-group/; Our cybersecurity journey through the years, Google (last accessed Jan.
    19, 2024),
    https://kstatic.googleusercontent.com/files/ba070caff65fa5331016c7720c9015346d564649ad822c704accd7538e3
    d4394f4ec2bf5e3250414f93d6b0e040cee34d4bd5c3bc3dc2dc1834f0fdc4bcae3bd.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 16 of 37 PageID# 21169


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             Malware40 as an intermediary, seller, and buyer, as well as TAG’s Brand Safety Certification41 as an
             intermediary and seller.42 In 2017, TAG became the Information Sharing and Analysis
             Organization for the digital advertising industry, a Department of Homeland Security designation
             making TAG the primary forum for sharing threat intelligence in the industry.43

         42. Google ad fraud prevention measures resulted in a substantial increase in the amount of
             malicious and fraudulent ads removed and ads violative of Google policies detected on and
             removed from its platform.

         43. Since 2012, Google has issued annual Ads Safety and Quality Reports, describing its efforts at
             addressing ads safety and quality.44 It was unusual in this time period for major industry
             participants to undertake and report out in this manner. A Google blog post introducing its 2022
             Ads Safety Report describes an example of these efforts:

                     Despite our continued efforts, bad actors increasingly operate at a greater scale
                     and with more sophistication. They use a variety of tactics to evade detection.
                     For example, at the end of 2022 and into the new year, we faced a targeted
                     campaign of scammers creating thousands of accounts to spread malware by
                     impersonating popular software brands. When we identify these coordinated
                     threats, we urgently assess the situation and take action. In this example, we
                     quickly identified how scammers are spreading their malware and put additional
                     restrictions to block their ability to harm consumers. Over a one-month period,
                     we blocked and removed tens of thousands of malicious advertisements and
                     took action against the accounts associated with the bad ads.45

         44. Bad ads are problematic for a number of reasons. For example, they disrupt the user experience
             on web pages with offensive or inappropriate content, abuse the ad network by promoting
             content that contains malware, and can otherwise contain prohibited or restricted content.



    40
       Certified Against Malware Guidelines Version 5.0, The Trustworthy Accountability Group (last accessed Jan. 19,
    2024), https://www.tagtoday.net/hubfs/CAM/TAG%20CAM%20Guidelines.pdf.
    41
       Brand Safety Certified, The Trustworthy Accountability Group (TAG) (Jan. 2023),
    https://2848641.fs1.hubspotusercontent-na1.net/hubfs/2848641/BSC%20Version%202.1%20Final.pdf
    42
       Registry, The Trustworthy Accountability Group (TAG) (last accessed Jan. 19, 2024),
    https://www.tagtoday.net/registry.
    43
       Trustworthy Accountability Group (TAG), The ISAO Standards Organization (last accessed Jan. 19, 2024),
    https://www.isao.org/group/tag/; Frequently Asked Questions About Information Sharing and Analysis
    Organizations (ISAOs), Department of Homeland Security Cybersecurity & Infrastructure Security Agency, (last
    accessed Jan. 19, 2024),
    https://www.cisa.gov/frequently-asked-questions-about-information-sharing-and-analysis-organizations-isaos.
    44
       For example, Ads Security: 2012 Retrospective, Google Inside AdWords (Jan. 17, 2013),
    https://adwords.googleblog.com/2013/01/ads-security-2012-retrospective.html; Busting Bad Advertising Practices
    – 2013 Year in Review, Google Inside AdWords (Jan. 17, 2014),
    https://adwords.googleblog.com/2014/01/busting-bad-advertising-practices-2013.html.
    45
       Alejandro Borgia, Our 2022 Ads Safety Report, Google Ads & Commerce Blog (Mar. 29, 2023),
    https://blog.google/products/ads-commerce/our-2022-ads-safety-report/.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 17 of 37 PageID# 21170


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         45. The chart below depicts the number of bad ads removed by Google from 2014 to 2022, based on
             its Ads Safety and Quality Reports.46




                                     Figure E - Number of “Bad Ads” removed by Google

         46. Google’s policies are designed to support a safe and positive experience by prohibiting and
             restricting content and practices believed to be harmful to users and the overall advertising
             ecosystem. Prohibited content includes: the sale or promotion for the sale of counterfeit goods
             (e.g. a fake trademark or logo); the promotion of some products or services that cause damage,
             harm, or injury (e.g. recreational drugs); the promotion of products or services designed to
             enable dishonest behavior (e.g. hacking software or instructions); and ads or destinations that

    46
      Fighting Bad Advertising Practices on the Web — 2014 Year in Review, Google Inside AdWords (Feb. 3, 2015),
    https://adwords.googleblog.com/2015/02/fighting-bad-advertising-practices-on.html; Sridhar Ramaswamy, How
    we fought bad ads in 2015, The Keyword (Jan. 21, 2016), https://blog.google/technology/ads/better-ads-report/;
    Scott Spencer, How we fought bad ads, sites and scammers in 2016, The Keyword (Jan. 25, 2017),
    https://blog.google/technology/ads/how-we-fought-bad-ads-sites-and-scammers-2016/; Scott Spencer, An
    advertising ecosystem that works for everyone, The Keyword (Mar. 14, 2018),
    https://blog.google/technology/ads/advertising-ecosystem-works-everyone/; Scott Spencer, Enabling a safe digital
    advertising ecosystem, Google Ads & Commerce Blog (Mar. 14, 2019),
    https://blog.google/products/ads/enabling-safe-digital-advertising-ecosystem/; Keeping users safe on the
    ad-supported internet, Google Safety Center (last visited Jan. 19, 2024),
    https://safety.google/stories/ads-safety-online/; 2020 Ads Safety Report, Google (Mar. 17, 2021),
    https://services.google.com/fh/files/blogs/ads_safety_report_2020/; 2021 Ads Safety Report, Google (May 4,
    2022), https://services.google.com/fh/files/blogs/google_ads_safety_report_2021.pdf; 2022 Ads Safety Report,
    Google (Mar. 29, 2023), https://services.google.com/fh/files/misc/2022_google_ads_safety_report.pdf.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 18 of 37 PageID# 21171


                            HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             display shocking content or promote hatred, intolerance, discrimination, or violence (e.g. hate
             group paraphernalia, ads using profane language). Google also restricts content such as
             pornography; ads or destinations that deceive users by excluding relevant product information
             or providing misleading information about products, services, or businesses; and more.47 For a
             breakdown of Google’s subcategories and the subsequent takedown of these “bad ads” by
             Google, see Appendix C.

         47. As depicted in the chart below, the highest number of bad ads blocked or removed by Google in
             2022, as violative of Google advertiser policies, involved users trying to “abuse the ad network”
             (1.36 billion).48




                              Figure F - Subcategories of Bad Ads Blocked or Removed by Google




    47
       Google Ads Policies, Google Support Center (Dec. 2021),
    https://support.google.com/adspolicy/answer/6008942?hl=en.
    48
       2022 Ads Safety Report, Google (Mar. 29, 2023),
    https://services.google.com/fh/files/misc/2022_google_ads_safety_report.pdf.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 19 of 37 PageID# 21172


                            HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

         48. Google also enforces publisher policies that prohibit content that erodes trust in the advertising
             ecosystem, including malware embedded on publisher webpages. In 2022, Google took down
             4.5 million web pages for violating Google’s policy against including malware or unwanted
             software such as computer viruses, ransomware, worms, trojan horses, rootkits, keyloggers,
             dialers, spyware, or rogue security software, as indicated in the chart below.49




                          Figure G - Subcategories of Google Enforcement Actions on Publisher Pages

    Google Has Played a Leading Role in Developing Industry Standards to Address Malvertising
    and Ad Fraud

         49. Google has invested substantial amounts of time, money, and knowledge into the development
             of standards, tools, and industry working groups in order to bolster the security of the
             advertising ecosystem. Google has played a leading role in setting industry security standards as
             one of the first organizations to obtain TAG’s anti-fraud certification, certification against
             malware, and brand safety certification, as well as through their involvement in the Interactive
             Advertising Bureau IAB Technology Laboratory (“IAB Tech Lab”), a global community of media
             companies, brands, and technology firms in the digital advertising space with a focus on brand
             safety, ad fraud, ad measurement, ad quality, and programmatic effectiveness.50 Not only does
             Google’s leadership in standard-setting organizations secure the advertising ecosystem, it
             encourages others in the industry to adhere to these standards as it allows other organizations

    49
       2022 Ads Safety Report, Google (Mar. 29, 2023),
    https://services.google.com/fh/files/misc/2022_google_ads_safety_report.pdf; Publisher Policies Help, Google
    Publisher Policies: Malware or unwanted software, Google (last accessed Jan. 18, 2024),
    https://support.google.com/publisherpolicies/answer/10502938?sjid=8243386597193415776-NC&visit_id=638411
    902878675843-405821156&rd=1.
    50
       About the IAB Tech Lab, IAB Tech Lab (last accessed Jan. 12, 2024),
    https://iabtechlab.com/about-the-iab-tech-lab.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 20 of 37 PageID# 21173


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             to benefit from Google’s security knowledge. The downstream effects from shared security
             knowledge and tools through cooperation with industry partners and working groups has a
             beneficial impact on all parties involved.

         50. Google developed the ads.txt file and worked with IAB Tech Lab to make it an industry standard
             to combat fraudulent and malicious actors, with an emphasis on finding a way to combat domain
             spoofing, hijacking, and illegitimate ad inventory. The IAB Tech Lab publicized the first iteration
             of ads.txt in May 2017 in conjunction with a report co-authored by a Google engineer and
             consultant.51

         51. An ads.txt file is an “authorized digital seller” text file added to a publisher’s domain so that
             advertising platforms can verify inventory and publisher relationships. Ads.txt files contain
             details on all of the programmatic advertising affiliates (i.e., supply side channels, ad networks
             and ad exchanges) where a publisher operates with their site server.52 Marketers can use the
             ads.txt file to verify that the seller account ID corresponds to the ID within the ads.txt file. If they
             do not align, it may mean that the website does not come from an authorized digital seller or
             that the seller is not authorized to sell ads, increasing the transparency of a publisher’s inventory
             by revealing where impressions are purchased and sold. Ads.txt also allows publishers to declare
             which companies are authorized to sell their inventory.

         52. Ads.txt played an instrumental role in diminishing domain spoofing exacerbated by the growth
             of header bidding.53 As explained in detail below, the server-to-server connections involved in
             header bidding prevented exchanges from independently verifying the true URL of an ad request
             in real time. The ads.txt industry standard raised the security bar against bad actors whether
             they ran through header bidding or Google’s Open Bidding technology.

         Google Detected and Played a Leading Role in the Takedown of 3ve, Collaborating with
         White Ops, the FBI, and Industry Participants

         53. One of the most massive and complex fraud operations in digital advertising was an ad fraud
             threat actor group 3ve (pronounced “Eve”) that, through three sub-operations, forged fake ad
             traffic from bots, as well as fake publisher inventory. Google and White Ops (a bot-detection
             firm, now known as HUMAN Security) independently detected 3ve and then worked together to
             analyze the 3ve operations, including the identification of the three sub-operations and the
             malware associated with the spread of the operation’s botnets, which was facilitated with the
             assistance of ProofPoint and MalwareBytes. At its peak, 3ve generated between 3 billion and 12
             billion or more daily ad bid requests.54 Google and White Ops presented to the FBI the results of

    51
       AB Tech Lab Authorized Sellers for Apps (app-ads.txt), IAB Tech Lab (Mar. 2019),
    https://iabtechlab.com/wp-content/uploads/2019/03/app-ads.txt-v1.0-final-.pdf.
    52
       Ads.txt for Publishers, Publift (Jun. 12, 2023), https://www.publift.com/blog/ads-txt-for-publishers.
    53
       Sarah Sluis, How Ads.txt Took Down 3ve, As The FBI Took Down Its Creators, Ad Exchanger (Dec. 3, 2018),
    https://www.adexchanger.com/online-advertising/how-ads-txt-took-down-3ve-as-the-fbi-took-down-its-creators/;
    Ross Benes, Blast from the past: Why old ad fraud tactics won’t die, Digiday (Oct. 30, 2017),
    https://digiday.com/marketing/blast-past-old-ad-fraud-tactics-wont-die/.
    54
       The Hunt for 3ve at Page 7, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 21 of 37 PageID# 21174


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             their investigation and, together with the FBI and ultimately other industry participants, took
             down 3ve.

         54. As a whole, the 3ve operation utilized domain spoofing in order to make fraudulent websites
             appear as legitimate and reputable websites, which can be difficult for ad exchanges to identify
             on their own. 3ve would then sell this fake publisher inventory to advertisers. Once sold to an
             advertiser, the bad actors would direct their various botnets to the fake websites, generating
             fraudulent ad impressions. These impressions would then fraudulently inflate the price of bid
             requests on 3ve’s spoofed domains, allowing them to sell inventory at a higher price. This botnet
             was able to maintain success and avoid detection due to the sophistication and various
             approaches of 3ve’s sub-operations.

         55. The first 3ve sub-operation, 3ve.1, consisted of a few bot networks operating from data centers
             across the U.S. and Europe. Even though significant traffic originated from the same few
             locations, 3ve.1’s operations were difficult to detect because they utilized a series of proxies
             through border gateway protocol (“BGP”) hijacks55 and compromised malware-infected devices
             to appear as if they were originating from a variety of residential and business devices.56 The
             data centers located in the U.S. and Europe acted as the Command and Control centers which,
             upon command, would initiate the botnet’s operations and send ad requests with the
             appearance that they originated from a variety of residential and business devices. Over time,
             the 3ve.1 botnet evolved not only to appear as if it originated from residential and business
             computers, but also from mobile Android devices, further obfuscating the malicious activity.

         56. The second operation, 3ve.2, used spoofed domains to sell fake ad inventory to advertisers.
             While 3ve.1 used proxy devices and IPs to obfuscate its activity, 3ve.2 utilized a “custom-built
             browsing engine, installed with the Kovter57 botnet, which had infected hundreds of thousands
             of computers through malvertising campaigns.”58 3ve.2’s browser would be used to visit spoofed
             domains in order to generate fake ad impressions. In circumstances where a video ad may have
             been shown on the spoofed website, the botnet had the capability to play media, in order to
             generate further impressions on each site it visited. 3ve.2 used additional methods to obfuscate
             its activity including hidden windows to hide the activity from end users; fake browsing and
             random mouse movement to emulate a legitimate end user; tag evasion, the process of blocking
             ad fraud detection tools or any other unwanted script that would detect malicious ads from
             executing; non-spoofed domain browsing, the process of visiting legitimate domains; and
             geographic locations where ad networks would expect organic users to visit from.

         57. The third operation, 3ve.3, was very similar to 3ve.1 in that it used data centers to host its bot
             networks. However, instead of using proxy devices, 3ve.3 used other data center IP addresses to

    55
       BHP hijacking is when malicious actors reroute Internet traffic through announcing false ownership of groups of
    IP addresses, called IP prefixes, that they do not actually own, control, or route to.
    56
       The Hunt for 3ve at Page 11, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf.
    57
       Kovter is a trojan malware that is typically distributed via email attachments.
    58
       The Hunt for 3ve at Page 12, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 22 of 37 PageID# 21175


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             attempt to obfuscate its activity. While the use of data centers is much easier to detect by ad
             filters, data centers provide a far greater bandwidth and 3ve.3’s malicious activity could be
             conducted in a more effective manner. Whenever a data center was detected and its traffic was
             restricted, 3ve.3 could find a new data center to compromise and utilize. All of these
             components of the operation exploited various aspects of the digital ad exchange ecosystem,
             and would require a holistic response to shut it down.

         58. The 3ve operation was massively destructive in scale. Using thousands of servers simulating
             human activity, three to twelve billion ad bid requests were generated daily; about 1.7 million
             PCs were infected with malware to falsify billions of ad views; 700,000 active desktop infections
             occurred at any given time; one million IP addresses were compromised; approximately 10,000
             websites were created to impersonate legitimate web publishers; and over 60,000 accounts
             were selling fake ad inventory to digital advertising companies.59 As a result of the 3ve.2
             sub-operation alone, it has been estimated that publishers paid over $29 million USD to the
             fraudsters between January 2016 through May 2017 for ads that no human ever saw.60

         59. Due to the sophisticated techniques employed, as well as a sudden increase in operational scale,
             Google and White Ops gathered enough evidence to refer the case and findings to federal law
             enforcement in 2017. As Google and White Ops worked to secure ad system traffic from the 3ve
             operations, they identified partners in the industry who had also observed and were victimized
             by the operations, and formed a secret coalition of roughly 17 cybersecurity, advertisement
             technology, Internet and security companies, as well as federal law enforcement.61 Google and
             White Ops founded this working group in order to ensure the success of a full takedown of the
             3ve operations and minimize 3ve’s ability to simply “move” or alter their operations through the
             use of alternative IP addresses and botnets. The secret coalition of private and federal entities
             dedicated months to strategizing and coordinating a technical takedown of 3ve’s infrastructure in
             order to block the operators from being able to rebuild.62 The other organizations in the coalition
             included Adobe, Trade Desk, Amazon, Oath, Malwarebytes, ESET, Proofpoint, Symantec,
             F-Secure, McAfee, and Trend Micro. Each company had its own unique role, with White Ops,
             Google and law enforcement leading the overall effort.63

         60. Just within Google and White Ops, there were over 30 people involved across the two
             companies, including software engineers, security researchers, threat analysts, project

    59
      The Hunt for 3ve at Pages 3 and 10, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf; Craig
    Silverman, 8 People are Facing Charges as a Result of the FBI’s Biggest-Ever Ad Fraud Investigation, BuzzFeed News
    (Nov. 27, 2018), https://www.buzzfeednews.com/article/craigsilverman/3ve-botnet-ad-fraud-fbi-takedown.
    60
       Indictment at Paragraph 39, United States v. Zhukov et al., Case No. 18-633 (E.D.N.Y. Nov. 27, 2018).
    61
       The Hunt for 3ve at Pages 3 and 14, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf; Industry
    collaboration leads to takedown of the “3ve” ad fraud operation, Google Security Blog (Nov. 27, 2018),
    https://security.googleblog.com/2018/11/industry-collaboration-leads-to.html.
    62
       Industry collaboration leads to takedown of the “3ve” ad fraud operation, Google Security Blog (Nov. 27, 2018),
    https://security.googleblog.com/2018/11/industry-collaboration-leads-to.html.
    63
       The Hunt for 3ve at Page 4, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf.


                                                                                                                    24
Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 23 of 37 PageID# 21176


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             managers, product managers, data scientists, publicists, and lawyers. The core research team
             would meet on a weekly basis to share findings, indicators of compromise, and coordinate the
             work for the following week.

         61. While the coalition was able to develop a means of identifying some of the traffic originating
             from the 3ve botnet, such as those employed by 3ve.3, the various means by which the botnet
             was deployed meant that, even when the associated IP addresses and traffic were blocked, the
             3ve operators could have the botnet up and operable again in little to no time. As a result, the
             coalition dedicated its time to dissecting the 3ve campaign’s tactics, from the malware used to
             deploy the botnet, the spoofed domains used to inflate prices, and understanding the full scope
             and extent of assets utilized by the campaign. While the team was strategizing the takedown of
             3ve, they had to allow the fraudsters to continue to earn some revenue to avoid tipping off 3ve’s
             operators that they had been discovered. Google allowed 3ve’s counterfeit websites to earn
             revenue through its ad systems but later refunded those who lost money on ads that ran.64

         62. On November 27, 2018, Google, White Ops, the FBI, DHS, and other organizations in the
             coalition initiated the takedown of 3ve operations by using their findings to target and restrict
             traffic from the operation’s critical infrastructure and data centers, “freeing” compromised
             devices, removing counterfeit websites, and seizing in-use servers and domains. Within 18 hours
             of the counter-operations beginning, incoming bot traffic from 3ve was reduced to near-zero.65




    64
       Craig Silverman, 8 People Are Facing Charges As A Result Of The FBI’s Biggest-Ever Ad Fraud Investigation,
    Buzzfeed News (Nov. 27, 2018),
    https://www.buzzfeednews.com/article/craigsilverman/3ve-botnet-ad-fraud-fbi-takedown.
    65
       The Hunt for 3ve at Pages 14-15, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf; Jeff Beer, FBI
    and Google take down multimillion-dollar ad fraud operation, Fast Company (Nov. 28, 2018),
    https://www.fastcompany.com/90273549/fbi-and-google-take-down-multi-million-dollar-ad-fraud-operation.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 24 of 37 PageID# 21177


                               HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER




                                Figure H: Incoming 3ve.2 bid requests on November 27 and 28

         63. As part of the efforts, the FBI seized 31 domains, information from 89 computer servers, and
             multiple international bank accounts associated with the schemes.66 On November 28, 2018, a
             13-count indictment was unsealed targeting eight actors from the 3ve operations.67 The entire
             takedown process of 3ve was a nearly two-year operation, but the recovery of proceeds
             continued through 2022, when the U.S. government announced that it had recovered over $15
             million in proceeds from the 3ve ad fraud operation that cost businesses more than $29 million.
             This forfeiture is the largest international cybercrime recovery in the history of the Eastern
             District of New York.68


    66
       Craig Silverman, 8 People Are Facing Charges As A Result Of The FBI’s Biggest-Ever Ad Fraud Investigation,
    Buzzfeed News (Nov. 27, 2018),
    https://www.buzzfeednews.com/article/craigsilverman/3ve-botnet-ad-fraud-fbi-takedown.
    67
       Press Release, Two International Cybercriminal Rings Dismantled and Eight Defendants Indicted for Causing Tens
    of Millions of Dollars in Losses in Digital Advertising Fraud, U.S. Attorney’s Office, Eastern District of New York (Nov.
    27, 2018),
    https://www.justice.gov/usao-edny/pr/two-international-cybercriminal-rings-dismantled-and-eight-defendants-ind
    icted-causing.
    68
       Press Release, United States Recovers Over $15 Million from Swiss Bank Accounts as Proceeds of Global Digital
    Advertising Fraud Scheme, U.S. Attorney’s Office, Eastern District of New York (May 18, 2022),
    https://www.justice.gov/usao-edny/pr/united-states-recovers-over-15-million-swiss-bank-accounts-proceeds-globa
    l-digital.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 25 of 37 PageID# 21178


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

         64. The identification and subsequent shut down of the 3ve operations led to significant
             developments and improvements within the digital advertising space that bolstered security and
             the quality of advertisements. The 3ve campaign highlighted substantial issues concerning the
             use of spoofed domains and how the use of spoofed domains resulted in substantially inflated
             prices from fraudulent ad traffic, allowing threat actors utilizing this tactic to benefit financially
             with a substantial impact on legitimate advertisers. One of the more effective ways of combating
             domain spoofing and validating that an advertisement belongs to a reputable publisher is
             through the use of the previously discussed “ads.txt” files.

         65. As set forth in Google and White Ops’ whitepaper on the 3ve operation, 80% of the traffic from
             3ve was unauthorized, or was “offered for sale by sellers that were not listed as authorized
             sellers in a domain’s ads.txt file.”69 Had ads.txt been adopted and enforced by advertisers at 3ve’s
             inception, most of the unauthorized traffic may have been blocked. Another study, conducted
             and published by the Association of American Advertisers (ANA) and White Ops in May of 2019,
             projected an 11% decrease in losses resulting from ad fraud in 2019, primarily attributable to the
             implementation of ads.txt, the requirement that ads.txt be used in order to become TAG ad
             fraud certified, and the arrests of those involved with the 3ve and Methbot operations.70




    69
       The Hunt for 3ve at Page 16, Google and White Ops (Nov. 2018),
    https://services.google.com/fh/files/blogs/3ve_google_whiteops_whitepaper_final_nov_2018.pdf.
    70
       Press Release, Report From ANA And White Ops Shows War On Ad Fraud Is Succeeding, the Association of
    National Advertisers (May 1, 2019),
    https://www.ana.net/content/show/id/pr-2019-war-succeeding#:~:text=The%20monetary%20losses%2C%20while
    %20significant,percent%20between%202017%20and%202019.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 26 of 37 PageID# 21179


                            HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

    Header Bidding
    The Rise of Header Bidding Created Additional Opportunities for Fraudulent Activity, Largely
    in the Form of Domain Spoofing

         66. Header bidding is a programmatic auction in which publishers send bid requests to multiple
             demand partners in real time outside of their primary ad server. It became widely adopted by
             publishers in 2014 and 2015, before ads.txt was developed and became an industry standard.

         67. Header bidding works through JavaScript code placed in the header part of the publisher’s
             website’s page, known as a header bidding wrapper, that manages the demand partners
             participating in the auctions, whether they be supply-side platforms (“SSPs”), demand-side
             platforms (“DSPs”), or ad networks. The header bidding code collects bids from every partner
             before closing the sale. Publishers are able to set price floors, manage demand partners, and
             configure auction time limits to reflect their marketing goals over time. Publishers can engage in
             header bidding either through open-source wrappers run by in-house developers or by hiring a
             third-party header bidding provider.

         68. While header bidding gave publishers a way to connect directly with advertisers, the technology
             introduced security vulnerabilities that bad actors can, and often do, exploit. These
             vulnerabilities included: (1) an inability to prevent fraud amongst the “noise” of multiple calls;
             (2) a lack of guardrails to protect against malvertising; and (3) user and publisher data leakage.

    Inability to Prevent Ad Fraud Among the “Noise”

         69. The sheer multitude of bid requests involved in header bidding makes it harder for publishers to
             catch ad fraudsters in the act. Publishers who use header bidding want their demand partners to
             access their inventory under multiple bidding scenarios and through multiple demand partners.
             On average, the top 100 publishers (in terms of comScore traffic) have four header bidding
             partners (a header bidding partner is a source of demand for ad inventory such as a network that
             the header bidding wrapper is programmed to send calls to when a user visits a website).71
             Further, 45% of publishers utilize more than one header wrapper, which gives bad actors more
             points of entry to take advantage of.72

         70. The technical complexities of implementing header bidding, in conjunction with publishers
             becoming more willing to add demand partners in the hopes of increasing their revenue,
             generated increased noise in bid requests where threat actors could hide.73 As IAB Tech Lab Chief
             Technical Officer Sam Tingleff explained: “Header bidding led to publishers being more

    71
       Ross Benes, Unraveling header bidding’s problems with user data, Digiday (Mar. 20, 2017),
    https://digiday.com/media/header-bidding-security/.
    72
       Alisha Rosen, A Publishers Guide to Header Bidding and Ad Quality, Headerbidding (Dec. 30, 2023),
    https://headerbidding.co/header-bidding-and-ad-quality/.
    73
       Sarah Sluis, How Ads.txt Took Down 3ve, As The FBI Took Down Its Creators, Ad Exchanger (Dec. 3, 2018),
    https://www.adexchanger.com/online-advertising/how-ads-txt-took-down-3ve-as-the-fbi-took-down-its-creators/#:
    ~:text=When%20publishers%20adopted%20Ads.,White%20Ops%20CTO%20Tamer%20Hassan.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 27 of 37 PageID# 21180


                                HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

               promiscuous in their demand partnerships, and more willing to turn on demand partners, which
               made it easier for bad actors to hide amongst all the activity.”74

           71. The noise of multiple bid requests in header bidding also made it difficult for advertisers to
               identify and prevent domain spoofing. As the volume of bid requests rose, it in turn became
               difficult for advertisers to understand where the inventory was coming from due to the various
               parties involved and greater strain on the humans tasked with investigating fraudulent activity at
               DSPs, often without advanced traffic quality technology.75 This created a security gap that threat
               actors were able to exploit through domain spoofing. As explained above, domain spoofing
               occurs when a fraudulent website or ad network sells an impression on a legitimate, reputable
               site, even though the impression will actually be served on an unknown site with lower quality
               (or bot) traffic. Buyers are misled into thinking that the legitimate site delivered poor results
               since these low-quality impressions perform much worse than the premium inventory they
               imitate. The lack of transparency into inventory allowed threat actors to send botnets to spoofed
               domains, subsequently to trigger bid requests for ads on these pages, and funnel ad revenue
               into their bank accounts.76

    Lack of Guardrails Against Malvertisers

           72. Header bidding further opened publishers to the threat of malvertising as publishers’ desire to
               increase their revenue led to the regular adding and switching of partners to find which ones
               provided the highest ad revenue. Prior to the development of the header bidding methodology,
               most auctions followed the waterfall method, in which a publisher typically started by trying to
               sell its inventory via direct sales, which typically yielded the highest CPMs.77 If it was unable to
               do so, the impression would be passed down to various ad networks until it was sold. The
               waterfall method allowed for a layer of security, as the order in which it offered impressions to
               SSPs, DSPs or networks was predetermined by the publisher and typically based on their
               historical performance for the publisher. As such, those demand partners prioritized in the chain
               were typically more reputable and less likely to conduct malicious activity. Further, as the
               waterfall method offered the impression to one partner at a time and in a predetermined
               manner, it was significantly easier to identify which advertisers were being offered the
               impressions and the participants in the process.

           73. With header bidding, there was a lack of guardrails and standards for entry and participation,
               therefore making it easier for threat actors, whose tactics include malvertising, to enter and
    74
         Sarah Sluis, How Ads.txt Took Down 3ve, As The FBI Took Down Its Creators, Ad Exchanger (Dec. 3, 2018),
    https://www.adexchanger.com/online-advertising/how-ads-txt-took-down-3ve-as-the-fbi-took-down-its-
    creators/.
    75
       Why publishers need to protect their reputations in the age of server-to-server, Digiday (Jun. 16, 2017),
    https://digiday.com/sponsored/openxsbl-005-why-publishers-need-to-protect-their-reputations-in-the-age-of-serv
    er-to-server/.
    76
       Press Release, 3ve – Major Online Ad Fraud Operation, Department of Homeland Security Cybersecurity and
    Infrastructure Security Agency (Nov. 27, 2018),
    https://www.cisa.gov/news-events/alerts/2018/11/27/3ve-major-online-ad-fraud-operation.
    77
       CPM (cost per mille) is a paid advertising option where companies pay a price for every 1,000 impressions an ad
    receives.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 28 of 37 PageID# 21181


                             HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

             participate in header bidding auctions. Google previously saw the impact of a lack of guardrails
             and standards for entry of participation with its AwBid program, which allowed advertisers that
             used Google Ads to bid on third party exchanges. However, by allowing advertisers to bid on
             third party exchanges, the ads were not subject to the policies and tooling mechanisms Google
             had in place to examine ads and inventory on its own AdX exchange.78 In 2013, Google’s research
             noted that the spam click rate through AwBid varied anywhere from 10 to 70% while AdX
             remained at 7 to 8%.79 This comparison of and view of spam rates through AwBid (outside
             exchanges) compared to AdX and advertisers bidding within the Google ad exchange shows the
             benefits of Google’s security mechanisms and policies.

    Data Leakage

         74. Data leakage is the unauthorized passage or transmission of typically non-public or sensitive data
             from inside an organization or system to a destination outside of its intended network. Leaked
             data is generally information that an organization or individuals do not intend to make public,
             such as business and financial information or personal identifiable information. Publishers share
             the following user information with multiple third parties when they run bidding on open source
             code on their webpages: user’s IP address, user’s cookie, user’s browser, domain and URL of the
             page, previous page loaded by the user, publisher shared data on the user (e.g., gender, race,
             parent, income bracket, education, year of birth, zip code), and potential specific data on
             interests (e.g., movie bug, fitness enthusiast, pet lover). Each and every bidder receives the data
             about the users who will be served an ad, leading to multiple opportunities for data leaks.

         75. The emergence of header bidding introduced various security concerns regarding data leakage
             as a result of the simultaneous manner in which calls are sent to bidders. The simultaneous call
             outs allow bidders to view the data from each user who was served an impression in an auction.
             In these instances, the header bidding call out will include relevant information about the
             Internet user for bidders to make a determination on whether they want to bid on the ad. As the
             bid request is sent to all partners, each bidder can get access to the data from every impression.
             Buyers can very easily abuse the system by “listening” for data without spending any money by
             simply receiving bid requests without the intention of winning the auction, allowing the buyers
             to sift through the publisher’s data, even if they do not intend to win the auction. Further, some
             exchanges allow demand-side platforms to take bid requests and “listen” for data without
             spending money, leading to even more parties involved that may have access to a user’s data.
             This has repercussions on both the users involved as well as publishers. Data leakage may impact
             and devalue publisher inventory, as a result of re-targeters using audience data from premium
             publishers to target their users, while visiting websites that have lower CPMs. With regards to
             users, it may be an annoyance, from the publication of non-public user information or, in
             extreme scenarios, this information may lead to malicious actors compromising their personal
             accounts and devices.80

    78
       GOOG-DOJ-13249608.
    79
       GOOG-AT-MDL-012551468.
    80
       Ross Benes, Unraveling header bidding’s problems with user data, Digiday (Mar. 20, 2017),
    https://digiday.com/media/header-bidding-security/.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 29 of 37 PageID# 21182


                            HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER


         Google’s Open Bidding Technology
         76. One of the more significant factors leading to ad fraud is an exchange’s distance and lack of
             relationships with ad sellers, which positions them far removed from the actual source of
             impressions they sell.

         77. In 2016, Google introduced Open Bidding (also referred to as Exchange Bidding), a programmatic
             advertising solution that allows publishers to invite external ad exchanges, SSPs, and networks to
             compete in a unified auction alongside Google AdX for ad inventory on their website. In contrast
             with header bidding, Google’s Open Bidding technology provides bidding over Google’s servers,
             as opposed to through code embedded in the publisher’s page. Open Bidding requests occur
             through a server-to-server integration between publishers and demand partners. The
             server-to-server integration means that, instead of bidding through page tags and via browsers
             on the user’s device, bidding takes place on the ad server, resulting in increased security,
             reduced latency for end users, easier implementation for web developers, less complicated
             communication between DSPs and SSPs, and easier maintenance and configuration.

         78. Google's integrated approach gives Google control over the data flowing through its platform.
             This control allows Google to implement data privacy measures designed for the responsible
             management of user data, subject to quality policies and restrictions. These policies and
             restrictions include, for example, the prohibition of: misleading and dishonest ads, such as
             malware or the sale of illegal or counterfeit products; dangerous content; and interfering ads,
             such as those that require interaction with the ad to visit the page.81




    81
      Google Publisher Policies, Google Ad Manager Help (Jan. 12, 2014),
    https://support.google.com/admanager/answer/10502938?sjid=16490059553950075395-NA&visit_id=638338563
    923173707-954928084&rd=1; Google Publisher Restrictions, Google Ad Manager Help (Jan. 12, 2014),
    https://support.google.com/admanager/answer/10437795?hl=en&ref_topic=7316904&sjid=164900595539500753
    95-NA%20; Google Ad Manager Partner Guidelines, Google Ad Manager Help (last accessed Jan. 12, 2024),
    https://support.google.com/admanager/answer/9059370?hl=en.


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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 30 of 37 PageID# 21183


                          HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

    Conclusion
      79. As the use of digital advertising has grown, opportunities for–and the magnitude of–malvertising
          and advertising fraud have likewise grown, with more than $100 billion in losses to the digital
          advertising ecosystem worldwide projected in 2024. Malvertising and ad fraud have been, and
          will continue to be, a significant issue for all Internet users as a result of the benefits and
          prevalence of the overall digital advertising ecosystem. As such, it is critical to ensure the digital
          advertisement space is as safe and secure as possible.

      80. Google has engaged in efforts to create a safer and more secure digital advertising ecosystem for
          all participants. Google, for example, made substantial investments into the development of
          mechanisms, tools, and processes to fight the rising threat of malicious ad activity, including
          working with industry working groups such as the IAB Tech Lab and TAG to develop quality and
          security standards across the industry for the benefit of all digital advertisers, and providing
          dedicated and experienced personnel and assets to respond to and address cybersecurity
          threats and risks both proactively and reactively, as seen with 3ve. Google’s investments, tools,
          teams, and collaboration with the industry, such as those efforts through TAG and IAB, can
          ensure a better and safer user experience for all parties using the Internet.

      81. The open environment in which header bidding operates, and header bidding’s lack of
          integration between exchanges and its participants, lead to ample opportunity for malicious
          actors to take advantage of Internet users and advertisers. Google’s development of Open
          Bidding as an alternative to header bidding allowed for Google to apply and provide its internally
          developed tools, resources, skills, and intelligence to all stakeholders and participants within its
          advertising ecosystem in an integrated environment, enabling Google to bolster security through
          the application of its tools and standards at all ends of the process.

      82. Google has proven itself to be a pioneer in protecting all players in the advertising space - from
          consumers to publishers to advertisers - and invests in the best resources and technology to
          achieve that goal. Google could have stood by and done nothing and let crime and fraud
          proliferate, but they took the actions that they did to the benefit of the entire online ecosystem.




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                                                                                     Anthony J. Ferrante
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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 31 of 37 PageID# 21184


                          HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER

                   Appendix C: “Bad Ads” Takedown Subcategories
    Google’s 2020, 2021, and 2022 Ad Safety Reports list categories of “bad ads” removed year after year.
    The following graphs demonstrate that Google consistently removed a high volume of bad ads for Adult
    Content, Inappropriate Content, Misrepresentation, Enabling Dishonest Behavior, Dangerous Products or
    Services, Counterfeit Goods, and Abusing the Ad Network in recent years.




                             Figure I - Subcategory of Bad Ads Blocked or Removed by Google




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 32 of 37 PageID# 21185


                     HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER




                       Figure J - Subcategory of Bad Ads Blocked or Removed by Google




                       Figure K - Subcategory of Bad Ads Blocked or Removed by Google




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 33 of 37 PageID# 21186


                     HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER




                       Figure L - Subcategory of Bad Ads Blocked or Removed by Google




                      Figure M - Subcategory of Bad Ads Blocked or Removed by Google




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 34 of 37 PageID# 21187


                     HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER




                       Figure N - Subcategory of Bad Ads Blocked or Removed by Google




                       Figure O - Subcategory of Bad Ads Blocked or Removed by Google




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 35 of 37 PageID# 21188


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    Similarly, Google’s 2020, 2021, and 2022, Ad Safety Reports list categories of web pages removed year
    after year. The following graphs demonstrate that Google consistently removed a high volume of web
    pages for Shocking Content, Sexually Explicit Content, Sexual Content, and Malicious or Unwanted
    Software. Note that Google began reporting data under the category of Malicious or Unwanted Software
    in 2021.




                             Figure P - Subcategory of Bad Ads Blocked or Removed by Google




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 36 of 37 PageID# 21189


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                       Figure Q - Subcategory of Bad Ads Blocked or Removed by Google




                       Figure R - Subcategory of Bad Ads Blocked or Removed by Google




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Case 1:23-cv-00108-LMB-JFA Document 899-1 Filed 07/09/24 Page 37 of 37 PageID# 21190


                     HIGHLY CONFIDENTIAL // SUBJECT TO PROTECTIVE ORDER




                       Figure S - Subcategory of Bad Ads Blocked or Removed by Google




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